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                                                                         Eastern District of Kentucky
                                                                                 FILED
                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY                            MAY O2 2019
                              CENTRAL DIVISION                                     AT LEXINGTON
                                                                                 ROBERT R. CARR
                                 FRANKFORT                                   CLERK U.S. DISTRICT COURT


UNITED STATES OF AMERICA


V.                                               INDICTMENT No.       3: 1q---cr2-'22-Grvr
DYLAN LEE JARRELL

                                       * * * * *

THE GRAND JURY CHARGES:

                                        COUNT 1
                                    18 U.S.C. § 875(c)

      In or about May 2018, in Anderson County, in the Eastern District of Kentucky,

and elsewhere,

                                DYLAN LEE JARRELL

did knowingly and willfully transmit in interstate commerce a communication containing

a threat to injure the occupants of a school, that is, the statement, "RIP DYLAN AND

ERIC IM ABOUT TO DO IT BETTER THAN CHO," which JARRELL transmitted

over the internet by posting on the Reddit website from the Reddit account

·'BigDaddy 101-101-".

      All in violation of 18 U.S .C. § 875(c).
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                                         COUNT 2
                                     18 U.S.C. § 875(c)

       On or about September 24, 2018, in Anderson County, in the Eastern District of

Kentucky, and elsewhere,

                                 DYLAN LEE JARRELL

did knowingly and willfully transmit in interstate commerce a communication containing

a threat to injure D.B ., that is, the statement, "You deserve to be raped and killed

[expletive] idiot response to me before I slide thru with them choppas," which

JARRELL transmitted over the internet by using his mobile telephone to send a message

from the Instagram account "suicidal_idol_" to an Instagram account associated with

D.B.

       All in violation of 18 U.S.C. § 875(c).

                                         COUNT 3
                                     18 U.S.C. § 875(c)

       On or about September 24, 2018, in Anderson County, in the Eastern District of

Kentucky, and elsewhere,

                                DYLAN LEE JARRELL

did knowingly and willfully transmit in interstate commerce a communication containing

a threat to injure D.B. , that is, the statement, "U deserve a beat down," which JARRELL

transmitted over the internet by using his mobile telephone to send a message from the

Instagram account "suicidal_idol_" to an Instagram account associated with D.B .

       All in violation of 18 U.S.C. § 875(c).
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                                       COUNT4
                                  18 U.S.C. § 2261A(2)

       Beginning on a date in or about July 2018 and continuing through a date in or

about September 2018, in Anderson County, in the Eastern District of Kentucky, and

elsewhere,

                                DYLAN LEE JARRELL

with the intent to harass and intimidate D.B. , used an electronic communication service

and an electronic communication system of interstate commerce, that is, Instagram, to

engage in a course of conduct that caused, attempted to cause, and would be reasonably

expected to cause substantial emotional distress to D.B., that is, by sending the following

messages to an Instagram account associated with D.B.:

                   Approximate Date                  Message
                  July 30, 2018           Your [expletive] trash
                  July 30, 2018           Bitch
                  September 24, 2018      You deserve to be raped and
                                          killed [expletive] idiot
                                          response to me before I slide
                                          thru with them choppas
                  September 24, 2018      ldgaf how old u is
                  September 24, 20 18     U deserve a beat down
                  September 24, 2018      I know you read them 2
                                          messages too

      All in violation of 18 U.S.C. § 2261A(2).

                                       COUNT 5
                                  18 U.S.C. § 2261A(2)

      On or about October 17, 2018, in Anderson County, in the Eastern District of

Kentucky, and elsewhere,
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                                 DYLAN LEE JARRELL

with the intent to harass and intimidate K.B. , used an electronic communication service

and an electronic communication system of interstate commerce, that is, Face book, to

engage in a course of conduct that caused, attempted to cause, and would be reasonably

expected to cause substantial emotional distress to K.B. , that is, by sending the following

messages to a Facebook account associated with K.B .:

                    Approximate Date                 Message
                   October 17, 2018       You wanna be a negro so bad
                                          lmfao. There's no such thing
                                          as white privileged you
                                          [expletive] autistic
                                          [expletive]. I hope your black
                                          children gets hung for you
                                          being so stupid. They have
                                          all the same rights we have
                                          now a days so please you and
                                          your monkey children go die
                                          [Expletive] wanna be ass
                                          nigger
                   October 17, 2018       Act your race retard

       All in violation of 18 U.S.C. § 2261A(2).

                                        COUNT6
                                  18 U.S.C. § 1001(a)(2)

       On or about May 29, 2018, in Anderson County, in the Eastern District of

Kentucky, and elsewhere,

                                DYLAN LEE JARRELL

knowingly and willfully made a materially false, fictitious , and fraudulent statement and

representation in a matter within the jurisdiction of the executive branch of the United

States government, that is, by telling an agent of the Federal Bureau of Investigation that
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he did not use and was not aware of the Reddit account "BigDaddyl0l-101-" and that he

had not used the Reddit website in over a year, knowing full well that he had posted the

communication set out in Count 1 in or about May 2018.

       All in violation of 18 U.S.C. § 1001(a)(2).

                                        COUNT 7
                                    18 U.S.C. § 924(c)

       Beginning on or about August 22, 2018, and continuing through on or about

October 18, 2018, in Anderson County, in the Eastern District of Kentucky, and

elsewhere,

                                DYLAN LEE JARRELL

in furtherance of the crimes set out in Counts 1, 2, and 3 of this Indictment, for which he

may be prosecuted in a court of the United States, knowingly possessed a firearm, that is,

an American Tactical Omni Maxx P3 Hybrid 5.56 caliber AR-15 rifle.

      All in violation of 18 U.S.C. § 924(c)(l).

                           FORFEITURE ALLEGATIONS
                                18 U.S.C. § 924(d)
                               28 U.S.C. § 2461(c)

      Upon conviction of the offense set forth in Count 7 of this Indictment, DYLAN

LEE JARRELL shall forfeit to the United States of America, pursuant to 18 U.S.C.

§ 924(d) and 28 U.S.C . § 246l(c), any firearms and ammunition involved in the

commission of the offense, including, but not limited to: an American Tactical Omni

Maxx P3 Hybrid 5.56 caliber AR-15 rifle, serial number NS150561 , 120 rounds of 5.56

caliber ammunition, and 20 rounds of 5.56 caliber tracer ammunition.
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      All pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 246l(c).

                                              A TRUE BILL




                                                •
ROBERT M. DUNCAN, JR.
UNITED STATES ATTORNEY
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                                    PENALTIES

COUNTS 1-3:       Imprisonment for not more than 5 years, fine of not more than
                  $250,000, and supervised release for not more than 3 years.

COUNTS 4-5:       Imprisonment for not more than 5 years, fine of not more than
                  $250,000, and supervised release for not more than 3 years.

                  If in violation of a prior court order, pursuant to 18 U.S.C.
                  § 226l(b)(6): Imprisonment for not less than 1 year and not more
                  than 5 years, fine of not more than $250,000, and supervised release
                  for not more than 3 years.

COUNT 6:          Imprisonment for not more than 5 years, fine of not more than
                  $250,000, and supervised release for not more than 3 years.

                  If involving domestic terrorism, as defined in 18 U.S.C. § 2331:
                  Imprisonment for not more than 8 years, fine of not more than
                  $250,000, and supervised release for not more than 3 years.

COUNT 7:          Imprisonment for not less than 5 years to run consecutively to any
                  other term of imprisonment imposed, fine of not more than
                  $250,000, and supervised release of not more than 5 years.

PLUS:             Forfeiture of all listed property.

PLUS:             Mandatory special assessment of $100 per count.

PLUS:             Restitution, if applicable.
